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JUANDELLA CRUZ,

FRANKLIN FERGUSON,

WAYNE BOSTIC,

JOHNNY RAY PARR,

KENNETH BERNARD CULP,
JOHNNY L. PHILLIPS,

SAMUEL ANDREW LEMAR, and
MARCUS FLOYD,

acting on their behalf and
on behalf of others similarly
situated

Plaintiffs,

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v. ) Nb. 93-2004 Ml/BRE
)

TED SUTTON, in his personal )
capacity and in his official )
capacity as Sheriff of )
Lauderdale County, and )
H. GWINN MATTHEWS, in his )
personal capacity and in his )
official capacity as County )
Executive for Lauderdale County,)
and THE LAUDERDALE coUNTY )
nom oF comIssIONERS, )
)
)

Defendants.

 

ORDER GRANTING PLAINTIFFS' UNOPPOSED MOTION FOR ONE-WEEK
CONTINUANCE WITHIN WHICH TO FILE RESPONSE TO LAUDERDALE COUNTY
COMPLIANCE PLAN

 

Before the Court is Plaintiffs' Unopposed Motion for One-
Week Continuance Within Which to File Response to Lauderdale

County Compliance Plan, filed August 22, 2005. Plaintiffs

This document entered on the docket heet| comé;|iance _-
with F\u!e 58 and/or 79{3) FFICF' on g will f] 92 022/f

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specifically move for an extension of time until Monday, August
29, 2005, by Which to respond to Defendant's compliance plan.

Good cause having been shown, the Court GRANTS the motion.

So ORDERED this gq day of August, 2005.

M@m“&@£

J P. MCCALLA

 

UNITED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 218 in
case 2:93-CV-02004 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

